          Case 1:21-cr-00175-TJK Document 18 Filed 03/01/21 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Case No: 21-MJ-195 (ZMF)
                                             :
ETHAN NORDEAN,                               :
also known as “Rufio Panman,”                :
                                             :
               Defendant.                    :

               OPPOSITION TO DEFENDANT’S MOTION FOR RELEASE

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully opposes Defendant’s “Motion for Release From Custody Pursuant to 18

U.S.C. § 3060.” (Docket Entry 15). For the reasons stated below, Defendant’s motion should be

DENIED.

                                             FACTS

       On February 3, 2021, Defendant was arrested in his home state of Washington on an arrest

warrant issued from the United States District Court for the District of Columbia by Magistrate

Judge Zia M. Faruqui in connection with a Criminal Complaint charging the defendant with Aiding

and Abetting an Injury or Depredation Against Government Property, in violation of 18 U.S.C. §§

1361 and 2; Obstructing or Impeding an Official Proceeding, in violation of 18 U.S.C. §

1512(c)(2); Knowingly Entering or Remaining in any Restricted Building or Grounds Without

Lawful Authority, in violation of 18 U.S.C. §§ 1752(a)(1), (a)(2); and Violent Entry and Disorderly

Conduct on Capitol Grounds, in violation of 18 U.S.C. §§ 5104(e)(2)(D), and (e)(2)(G).

       At his initial appearance in the Western District of Washington on February 3, 2021, the

United States moved to detain Defendant pursuant to 18 U.S.C. § 3142(f)(1)(A), because he is

                                                 1
          Case 1:21-cr-00175-TJK Document 18 Filed 03/01/21 Page 2 of 6




charged with a crime of violence. The United States also sought detention pursuant to 18 U.S.C. §

3142(e)(3)(C), which provides a rebuttable presumption of detention if there is probable cause to

believe that the defendant committed “an offense listed in section 2332b(g)(5)(B) of title 18,

United States Code, for which a maximum term of imprisonment of 10 years or more is

prescribed.” The United States also sought detention pending trial pursuant to 18 U.S.C. §

3142(f)(2)(A), because Defendant poses a serious risk of flight. The presiding United States

Magistrate set a detention hearing for February 8, 2021.

       After hearing argument at the detention hearing on February 8, 2021, the Magistrate issued

an order releasing the Defendant. The United States orally moved to stay Defendant’s release

pending its appeal, which was denied, and the Magistrate ordered that Defendant would be released

from custody unless this Court issued a stay by 6pm on February 8, 2021. This Court issued an

Order Staying the Release Order for Review by this Court, as well as a separate Order directing

the United States Marshals to transport Defendant o this District forthwith. (Docket Entries 8, 9).

Defendant filed the instant motion on February 26, 2021, and this opposition follows.

                                         ARGUMENT

       1. Defendant Requested a Preliminary Hearing in the District of Columbia

       Defendant’s instant motion relies exclusively on 18 U.S.C. § 3060 as a basis for his release,

as though Defendant were arrested in the same District where he is charged. (Docket Entry 15).

This reliance is misplaced.

       Section 3060 provides that, unless otherwise agreed by the Defendant, a preliminary

hearing must be held within 14 days to establish probable cause to support a Criminal Complaint.

Defendant fails to note, however, that where—as here—Defendant was arrested in a District other

than where the charges are filed, the timeline becomes slightly more nuanced. Pursuant to FEDERAL
                                                  2
           Case 1:21-cr-00175-TJK Document 18 Filed 03/01/21 Page 3 of 6




RULE OF CRIMINAL PROCEDURE 5.1(b), under these circumstances, a defendant may elect to have

the preliminary hearing in the District where he was arrested or in the District where the charges

were filed.

       Defendant was offered the opportunity to have his preliminary hearing in the Western

District of Washington, but he declined. Rather, after this Court issued the Orders to Stay the

Release Order and Transfer Defendant to this District, Defendant filed a written pleading expressly

waiving a preliminary hearing in the Western District of Washington. United States v. Nordean,

Case Number 1:21-mj-00067-BAT (Docket Entry 11) (W.D. Wash. February 8, 2021)

(Attachment One). Defendant’s pleading included the following waivers:

               a) I acknowledge that I am the person named in an indictment, information,
                  or Warrant pending in the U.S. District Court for the District of
                  Columbia;

               b) I waive my right to production of the warrant or of any other original
                  paper Related to these charges or certified copies thereof;

               c) If I am entitled to a preliminary examination, I elect to have it conducted
                  in the district where the prosecution is pending; and

               d) I consent to the issuance of an order directing me to appear and answer
                  in said district where the charges are pending.

Id. at 1 (emphasis added).

       The fact that Defendant’s counsel signed the waiver on his behalf does not limit its effect. 1

Quite the contrary, Defendant’s counsel was required to sign this document on Defendant’s behalf.




       1
         As in most other states, Washington attorneys are permitted to sign documents on
behalf of their clients and, as in most other states, a Washington attorney who falsely signs on
behalf of her client without consent would be in commission of a serious ethical breach. See
Washington Rule of Professional Conduct 1.2, available at https://www.courts.wa.gov/
court_rules/?fa=court_rules.rulesPDF&groupName=ga&setName=RPC&pdf=1.
                                                   3
          Case 1:21-cr-00175-TJK Document 18 Filed 03/01/21 Page 4 of 6




See United States District Court for the Western District of Washington General Order 03-20, ¶8,

(March 25, 2020), available at https://www.wawd.uscourts.gov/sites/wawd/files/GO%2003-

20%20General% 20Order%20Re%20Remote%20Access%20to%20Courthouse.pdf (last visited

March 1, 2021). According to General Order 03-20:

       It is hereby ordered that all documents and signatures required from any party including,
       but not limited to . . . consents to waive preliminary hearing . . . shall be performed
       electronically with the [s/name] format. For the defendant, the defense counsel may sign
       on behalf of the defendant, after receiving consent, and file the document electronically.

Id. (emphasis added). That Court has reiterated the need for such procedures in order “to limit the

physical exchange of documents.” General Orders: 8-20 (May 13, 2020); 11-20 (July 30, 2020);

13-20 (September 4, 2020); 18-20 (December 30, 2020), available at https://www.wawd.uscourts.

gov/general-orders-current (last visited March 1, 2021).

       Respectfully, the Court should not entertain Defendant’s attempted “gotcha” game. He was

offered the opportunity to have a preliminary hearing in the Western District of Washington. He

elected to have that hearing in the District of Columbia instead. The FEDERAL RULES OF CRIMINAL

PROCEDURE can hardly be read to require Defendant’s release from custody based on his having

been denied a hearing that he waived, in writing.

       2. The 14-Day Clock was Tolled on February 8, 2021

       This Court ordered Defendant transported to the District of Columbia for a review of the

release order on February 8, 2021– 6 days after Defendant’s arrest. Given this Court’s order, and

Defendant’s waiver, the Western District of Washington had no jurisdiction or basis to schedule a

preliminary hearing. Further, this Court cannot schedule a preliminary hearing until Defendant has

had his preliminary hearing in this District before the assigned Magistrate. Assuming Defendant



                                                4
          Case 1:21-cr-00175-TJK Document 18 Filed 03/01/21 Page 5 of 6




is not indicted before he arrives in this District, the United States agrees that Defendant should

receive a preliminary hearing within 8 days of his initial appearance.

       WHEREFORE, the United States respectfully requests that Defendant’s motion be

DENIED.

                                                Respectfully submitted,

                                                 MICHAEL R. SHERWIN
                                                 Acting United States Attorney
                                                 New York Bar No. 4444188

                                          By:        /s/ James B. Nelson
                                                     JAMES B. NELSON
                                                     D.C. Bar No. 1613700
                                                     Assistant United States Attorney
                                                     Federal Major Crimes Section
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     (202) 252-6986
                                                     james.nelson@usdoj.gov

                                        By:          /s/ Jason B.A. McCullough
                                                     JASON B.A. MCCULLOUGH
                                                     D.C. Bar No. 998006
                                                     Assistant United States Attorney
                                                     National Security Section
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     (202) 252-7233
                                                     jason.mccullough2@usdoj.gov




                                                 5
        Case 1:21-cr-00175-TJK Document 18 Filed 03/01/21 Page 6 of 6




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via the Electronic Case Filing (ECF) system, on March 1, 2021.


                                      By:        /s/ James B. Nelson
                                                 JAMES B. NELSON
                                                 D.C. Bar No. 1613700
                                                 Assistant United States Attorney
                                                 Federal Major Crimes Section
                                                 555 4th Street, N.W.
                                                 Washington, D.C. 20530
                                                 (202) 252-6986
                                                 james.nelson@usdoj.gov




                                             6
